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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-cv-03440-WJM-KAS

  ERIC COOMER, Ph.D.,

        Plaintiff

  v.

  MAKE YOUR LIFE EPIC LLC dba THRIVETIME SHOW,
  REOPEN AMERICA LLC dba REAWAKEN AMERICA TOUR, and
  CLAYTON THOMAS CLARK, individually,

        Defendants


                                   EXHIBIT 1
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